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                                                                    United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                                                                        September 19, 2023
                      UNITED STATES DISTRICT COURT
                                                                        Nathan Ochsner, Clerk
                       SOUTHERN DISTRICT OF TEXAS
                          GALVESTON DIVISION

KINDI SHEPARD,                         §
                                       §
         Plaintiff,                    §
                                       §
VS.                                    §             3:23-CV-233
                                       §
DEUTSCHE BANK NATIONAL                 §
TRUST COMPANY,                         §
                                       §
         Defendant.                    §
                                       §

                            FINAL JUDGMENT

       Pursuant to the court’s order granting the defendant’s motion to

dismiss, Dkt. 13, it is ordered that this case is dismissed with prejudice.

       THIS IS A FINAL JUDGMENT.

       All pending motions are denied as moot.

       The clerk will provide copies of this judgment to the parties.

       Signed on Galveston Island this 19th day of September, 2023.



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                                      JEFFREY VINCENT BROWN
                                      UNITED STATES DISTRICT JUDGE
